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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF OKLAHOMA

                                                  :
Jamie Thompson,                                   :
                                                  :
                                                  : Civil Action No.: 5:15-cv-00014-L
                        Plaintiff,                :
       v.                                         :
                                                  :
Jon Barry & Associates, Inc. d/b/a Paragon        :
Revenue Group; and DOES 1-10, inclusive,          :
                                                  :
                        Defendant.                :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)


       Jamie Thompson (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint
and voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: April 22, 2015

                                                             Respectfully submitted,


                                                             By: /s/ Sergei Lemberg
                                                             Sergei Lemberg
                                                             Lemberg Law L.L.C.
                                                             1100 Summer Street, 3rd Floor
                                                             Stamford, CT 06905
                                                             Telephone: (203) 653-2250
                                                             Facsimile: (203) 653-3424
                                                             Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE

      I hereby certify that on April 22, 2015, a true and correct copy of the foregoing Notice of
Withdrawal was served electronically by the U.S. District Court for the Western District of
Oklahoma Electronic Document Filing System (ECF) and that the document is available on the
ECF system.

                                             By_/s/ Sergei Lemberg_________

                                                  Sergei Lemberg
